         Case 4:19-cv-07123-PJH Document 112 Filed 07/21/20 Page 1 of 5




                   UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
Name of U.S. District Court:                 Northern District of California

U.S. District Court case number: 4:19-cv-07123-PJH

Date case was first filed in U.S. District Court: 10/29/2019

Date of judgment or order you are appealing:                       07/16/2020
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
 NSO Group Technologies Limited; Q Cyber Technologies Limited

 Appeal of issues covered by the collateral order doctrine. See Coopers &
 Lybrand v. Livesay, 437 U.S. 463, 468 (1978).

Is this a cross-appeal?          Yes           No
If Yes, what is the first appeal case number?

Was there a previous appeal in this case?                      Yes           No
If Yes, what is the prior appeal case number?

Your mailing address:
Joseph N. Akrotirianakis

King & Spalding LLP, 633 West Fifth Street, Suite 1600

City: Los Angeles                             State: CA               Zip Code: 90071

Prisoner Inmate or A Number (if applicable):

Signature        /s/Joseph N. Akrotirianakis                            Date 07/21/2020
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 12/01/2018
         Case 4:19-cv-07123-PJH Document 112 Filed 07/21/20 Page 2 of 5




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
NSO Group Technologies Limited
Cyber Technologies Limited

Name(s) of counsel (if any):
King & Spalding LLP
Joseph N. Akrotirianakis
Aaron S. Craig
Address: 633 West Fifth Street, Suite 1600, Los Angeles, CA 90071
Telephone number(s): (213) 443-4355
Email(s): jakro@kslaw.com, acraig@kslaw.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
WhatsApp Inc.
Facebook, Inc.

Name(s) of counsel (if any):
Davis Polk & Wardwell LLP
Antonio J. Perez-Marques
Craig Cagney
Address: 450 Lexington Ave., New York, NY 10017
Telephone number(s): (212) 450-4000
Email(s): antonio.perez@davispolk.com, craig.cagney@davispolk.com


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
         Case 4:19-cv-07123-PJH Document 112 Filed 07/21/20 Page 3 of 5




Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:
WhatsApp Inc.
Facebook, Inc.
Name(s) of counsel (if any):
Davis Polk & Wardwell LLP
Greg D. Andres
Address: 450 Lexington Ave., New York, NY 10017
Telephone number(s): (212) 450-4000
Email(s): greg.andres@davispolk.com
Name(s) of party/parties:
WhatsApp Inc.
Facebook, Inc.
Name(s) of counsel (if any):
Davis Polk & Wardwell LLP
Micah Galvin Block
Address: 1600 El Camino Real, Menlo Park, CA 94025
Telephone number(s): (650) 752-2023
Email(s): micah.block@davispolk.com
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
         Case 4:19-cv-07123-PJH Document 112 Filed 07/21/20 Page 4 of 5




Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:
WhatsApp Inc.
Facebook, Inc.
Name(s) of counsel (if any):
Cooley LLP
Travis LeBlanc, Joseph D. Mornin, Kyle C. Wong, Michael G. Rhodes
Address: 101 California St., 5th Floor, San Francisco, CA 94111
Telephone number(s): (415) 693-2178
Email(s):   tleblanc@cooley.com, jmornin@cooley.com, kwong@cooley.com, mrhodes@cooley.com

Name(s) of party/parties:
WhatsApp Inc.
Facebook, Inc.
Name(s) of counsel (if any):
Cooley LLP
Daniel Joseph Grooms, Elizabeth B. Prelogar
Address: 1299 Pennsylvania Ave., NW, Washington, DC 20004
Telephone number(s): (202) 842-7800
Email(s): dgrooms@cooley.com, eprelogar@cooley.com
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               3                                         New 12/01/2018
         Case 4:19-cv-07123-PJH Document 112 Filed 07/21/20 Page 5 of 5




Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:
WhatsApp Inc.
Facebook, Inc.
Name(s) of counsel (if any):
Cooley LLP
Ian Shapiro
Address: 55 Hudson Yards, New York, NY 10001
Telephone number(s): (212) 479-6000
Email(s): ishapiro@cooley.com
Name(s) of party/parties:
WhatsApp Inc.
Facebook, Inc.
Name(s) of counsel (if any):
O'Melveny & Myers LLP
Michael R. Dreeben
Address: 1625 Eye Street, NW, Washington, DC 20006
Telephone number(s): (202) 383-5300
Email(s): mdreeben@omm.com
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               4                                         New 12/01/2018
